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AUDREE WILSON, an individual, belo E 4) EU UEROUE

Plaintiffs,

: 94 Civ. 892 (JC)
V.

HARPERCOLLINS PUBLISHERS INC.,
a Delaware corporation, :

Defendant. 3
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MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S MOTION FOR
SUMMARY JUDGMENT ON PLAINTIFF AUDREE WILSON'S LIBEL CLAIM

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SUMMARY JUDGMENT ON PLAINTIFF AUDREE WILSON) Bibs Shih

PRELIMINARY STATEMENT

 

HarperCollins Publishers Inc. ("HarperCollins")
submits this memorandum in support of its motion, pursuant
to Rule 56 of the Federal Rules of Civil Procedure, for
summary judgment in its favor as to Plaintiff Audree
Wilson's ("Ms. Wilson's") remaining libel claim as contained
in the Second Amended Complaint ("Complaint") .!

| Ms. Wilson's remaining claim alleges that certain
passages in Wouldn't It Be Nice -- My Own Story ("the book")
falsely portray her as being a passive bystander to her late
husband's, Murry Wilson's ("Murry's"), abuse of their

children. See Complaint 4 11. To prevail on this claim

 

1. On July 14, 1995, this Court dismissed Ms. Wilson's
libel claim related to passages which she asserted portrayed
her as an alcoholic.

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under New Mexico law, Ms. Wilson has the burden of
establishing, among other things, that such a portrayal of
her is false and that it caused actual injury to her
reputation.

As discussed in greater detail below, Ms. Wilson's
deposition testimony in this case makes clear that as a
matter of law and uncontested fact she will be unable to
establish either of these requisite elements. First, Ms.
Wilson has confirmed Murry's abuse of their children, her
awareness of such abuse, and her failure to take any action
to stop it. Thus, to the extent that the book may be said
to portray Ms. Wilson as a passive bystander to Murry's
abuse, it is accurate. Second, Ms. Wilson has confirmed
that publication of the book has not caused injury to her
reputation in any respect. Accordingly, the now fully-
developed discovery record reveals that Ms. Wilson will not
be able to establish two elements critical to her claim, and
that HarperCollins is thus entitled to judgment at this
stage of the proceedings as a matter of law.

STATEMENT OF UNCONTESTED MATERIAL FACTS

 

The facts relevant to this motion are set forth in
the ensuing discussion of Ms. Wilson's allegations.
Relevant portions of Ms. Wilson's deposition, conducted on
November 5, 1996, are discussed herein and annexed hereto as

Exhibit A.

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ARGUMENT

In order to establish a prima facie case of

 

defamation under New Mexico law, the plaintiff has the
burden of proving a number of elements, including that the
challenged statements are false and that they caused actual
injury to her reputation. See Philadelphia Newspapers, Inc.

v. Hepps, 475 U.S. 767, 775-76 (1986); SCRA § 13-1002; Cowan

 

v. Powell, 115 N.M. 603, 856 P.2d 251 (N.M. Ct. App. 1993).
As will be demonstrated below, Ms. Wilson's deposition
testimony makes plain that the book's alleged portrayal of
Ms. Wilson is accurate, and that publication of the book has
caused no injury to her reputation in any event.
I. THE BOOK'S PORTRAYAL OF MS. WILSON IS ACCURATE
A. The Governing Law

Beginning in 1964 with New York Times Co. v.
Sullivan, 376 U.S. 254, the Supreme Court has emphasized
that the First Amendment absolutely precludes states from
sanctioning speech that is true. Thus, in a libel case, the
plaintiff -- irrespective of whether she is a public ora
private figure -- bears the burden of proving the challenged

statement to be false. Hepps, 475 U.S. at 775-76; see also

 

SCRA § 13-1002. A statement will not be considered "false"
for purposes of this inquiry if its "gist" or "sting" is
substantially true. Masson v. New Yorker Magazine, Inc.,

501 U.S. 496, 516 (1991). That is, "({mjJinor inaccuracies do

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not amount to falsity so long as ‘the substance, the gist,
the sting, of the libelous charge be justified.’" Id. at
517 (quotations omitted). In view of these principles,
courts routinely grant summary judgment in favor of a libel
defendant when the record reveals that the plaintiff is
unable to meet his or her burden of proving falsity.’
B. The Truth of the Challenged Portrayal

What is left of Ms. Wilson’s defamation claim
centers on certain passages in the book which, she contends,
falsely portray her as being a passive bystander to Murry’s

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abuse of their sons. ee Complaint Ff 10, 11; Deposition

 

2. See, e.g., Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222,
1227 (7th Cir. 1993); Unelko Corp. v. Rooney, 912 F.2d 1049
(9th Cir. 1990), cert. denied, 499 U.S. 961 (1991);
Estiverne v. Louisiana State Bar Assoc., 863 F.2d 371 (5th
Cir. 1989); Vachet v. Central Newspapers, Inc., 816 F.2d 313
(7th Cir. 1987); Waring v. William Morrow & Co., Inc., 821
F. Supp. 1188, 1190 (S.D. Tex. 1993); Hickey v. Capital
Cities/ABC, Inc., 792 F. Supp. 1195 (D. Or. 1992), aff'd,
999 F.2d 543 (9th Cir. 1993); Vetere v. Associated Press,
Inc., 16 Media L. Rep. 1591, (S.D.N.Y. 1989); Robinson v.
U.S. News & World Report, Inc., 16 Media L. Rep. 1695 (N.D.
Tll. 1989); Basilius v. Honolulu Publishing Co., Ltd., 711
F. Supp. 548 (D. Haw.), aff’d, 888 F.2d 1394 (9th Cir.
1989).

3. Notably, when asked at her deposition how publication of
the book caused her injury, Ms. Wilson stated: "[Bly
inferring that I was a drunk. I can’t remember the other."
Dep. Tr. 237-38 (emphasis added). See also id. 228-29
(stating that the book’s "most serious misportrayal" of her
was that of her drinking habits). Only secondarily --
indeed, as a virtual afterthought -- did she mention the
alleged portrayal of her that is the subject of the instant
motion.

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Transcript of Audree Wilson (hereinafter "Dep. Tr.") 229.4
Taking Ms. Wilson's interpretation of the challenged
passages at face value for purposes of this motion, the
record as reflected in Ms. Wilson's deposition testimony
confirms that such a portrayal of Ms. Wilson is
substantially accurate.

1. Murry's physical and psychological abuse of
their sons. Ms. Wilson testified that Murry would use
physical force against her sons that inflicted pain, that
she regarded such force as "excessive," and that the
children were subject to psychological abuse by their father

as well. See Dep. Tr. 184-85, 88, 210-11, 271-72.°

 

4. While the Complaint embellishes Ms. Wilson's claim by
including allegations that Ms. Wilson is portrayed "as an
unfit mother who permitted child abuse to occur, and as an
individual so emotionally demoralized that she was incapable
of defending herself or her children against severe abuse"
(see Complaint § 11), as this Court recognized in its July
14, 1995 Order on HarperCollins' motion to dismiss -- and
indeed, as Ms. Wilson herself asserted during her deposition
-- the essence of Ms. Wilson's remaining claim is the book's
alleged portrayal of her "acquiescence" and "just st[{an]ding
by" and being a "bystander" to her husband's abuse of their
children. See J. Conway Letter Accompanying Order on
HarperCollins' Motion to Dismiss, Wilson v. Har erCollins,
Civ. No. 94-892 JC/LFG (July 14, 1995); Dep. Tr. 229.

5. Murry's abusive conduct toward the Wilson children is so
well documented as to be beyond dispute. See excerpts from
prior publications attached hereto as Exhibit C (pp. 68,
69), D (p. 15), and F (pp. 46-49).

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2. Ms. Wilson's presence at and/or

contemporaneous awareness of instances of such abuse. Ms.

Wilson testified that she was physically present during or
within hearing distance of Murry's abuse on at least five
occasions:

Q: And on how many occasions altogether would you say
you were present when he administered one form of
physical punishment or another to the boys?
Whether in the house or in the studio or in the
street or anywhere else.

A: I would not venture to guess.

Q: I don't want you to guess. Can you make some
reasonable estimate?

A: In all of our years together you mean?

Q: Yes, ma'am.
A: Maybe five.
Q: How much do you remember about each of those five

or so incidents as you sit here today?
A: I don't know.

Q: Can you tell me your best recollections of as many
of them as possible since they go right to the
basis for this lawsuit? I realize its a long time
ago and we're testing memories, but unfortunately,
we have to go through this process.

A: It's over 40 years. It's difficult to remember
unpleasant times.

Q: I can understand that. Do you have any
recollections? I'm not asking you to guess, but
any recollections of any of the five or so
incidents that you seem to recall your being a
witness to?

A: I don't.

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Q:

Do you remember which of the sons was involved in
the incident?

[Attorney colloquy]

Had to be one out of three.

That's true. Are you able to be any more
specific.

Very likely could have been Dennis.

And focusing on Dennis, what specific instances
come to mind? What pictures remain in your mind
however complete or fragmentary of physical
punishment inflicted by Murry which you had
occasion unhappily, I assume, to observe?
Unhappily what?

From your standpoint to observe.

You know, it's interesting, I was never present.
I could be in the other room, but I didn't witness
a spanking or a beating as you call it.

You would hear it on occasion?

Yeah.

And was it your choice not to be present?
Probably.

Why?

I didn't want to see any of my children whipped or
whatever. Spanked.

What would it do to you as you heard it happening?

It would just hurt really a lot. And made me
angry.

Angry at?

At Murry.

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Dep. Tr. 274-78.

3. Ms. Wilson's Failure to Intercede or Failure

 

to Recollect Having Interceded. Ms. Wilson testified to

having a "very good" memory. Dep. Tr. 177-78. Yet, Ms.
Wilson was unable to identify a single instance in which she
intervened to stop the abusive behavior which she was aware
was occurring. When asked with respect to the five or so
instances during which she was either present for a beating
or heard it "in the other room," what steps she took "to
stop Murry from inflicting the physical punishment," Ms.
Wilson could only muster the answer, "I don't remember."
See Dep. Tr. 274, 277. Even as to whether, following the
episodes, she expressed her anger to Murry, her answer was
"Tl don't remember, I really don't remember." See id. 278.

At the very most, Ms. Wilson later testified,
following a particular episode of abuse, she might follow
Murry into their bedroom, close the door, and have a
"private discussion" with him:

Q: How did you rise up and defend your
children?

A: Well, I probably went and followed him into the
bedroom -- I didn't -- I didn't visibly oppose him
in front of the kids. I don't think that's a good
idea.

Q: Would you do it privately?

A: Yeah.

Q: You would what, go in the bedroom and close the
door and have a discussion?

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A: (The witness nods head.)

Q: Were the children witnesses to those discussions?

A: I don't think so.

Q: So it was nothing that they saw; is that correct?

A: That's right.
Dep. Tr. 289-90. This is precisely in line with the book's
report that any objections to Murry's abuse were not
manifested by Ms. Wilson in front of the children: "My
mother was no help. She almost never opposed my father,
almost never rose up and defended her children. Not that we
saw_anyway." See book at 27 (emphasis added) (passages from
the book cited herein are attached hereto as Exhibit B).°

In the face of this testimony -- either generally

confirmatory of the gist of what Ms. Wilson's Complaint
claims to be false, or evidencing a complete lack of memory
on the point -- there is absolutely no basis for Ms.
Wilson's charge that HarperCollins published falsely as to
her comportment in the face of Murry's abuse. Given that it
is Ms. Wilson's constitutionally-imposed burden to prove the
falsity of the allegedly defamatory sting of the book, not

HarperCollins' burden to prove its truth, there is utterly

 

6. The accuracy of Brian's description of his mother's
behavior during his childhood finds additional -- albeit
circumstantial -- support in Ms. Wilson's deposition
testimony affirming the accuracy of numerous passages in the
book depicting other private, family interactions which
occurred in the same general time periods. See Dep. Tr.
143, 195, 197, 199-204, 216-17, 219-221, 223-25.

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no basis for putting these evidentiarily-naked charges to a
jury in this case.

II. THE CHALLENGED PORTRAYAL DID NOT CAUSE INJURY TO MS.
WILSON'S REPUTATION

In order to establish a prima facie case of

 

defamation under New Mexico law, the plaintiff has the

burden of proving, inter alia, not only that the challenged

 

 

statements are false, but that they "proximately caused
actual injury to [the] plaintiff's reputation." SCRA § 13-

1002(8); Cowan v. Powell, 115 N.M. 603, 605, 856 P.2d 251,

 

253 (N.M. Ct. App. 1993). See also Clough v. Adventist

 

Health Systems, Inc., 108 N.M. 801, 806, 780 P.2d 627, 632
(N.M. 1989) (setting forth elements); Paca v. K-Mart Corp.,
108 N.M. 479, 481, 775 P.2d 245, 247 (N.M. 1989) (same);
SCRA § 13-1001 (defining defamation as "a wrongful and
unprivileged injury to a person's reputation"). Thus, a
showing that the plaintiff suffered actual injury to her
reputation is an element of the cause of action for
defamation, and is to be distinguished from the issue of
whether any compensation for such injury may be had, which
is reached only after the initial determination of liability
is made. See SCRA §§ 13-1002(8), 1310; Cowan, 115 N.M. at
604-05, 856 P.2d at 252-53.

Reputational injury is generally defined as injury
to the plaintiff's good standing in the community, and to

her name and character among her friends and neighbors. See

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generally RoBert D. SacK & SANDRA S. BARON, LIBEL, SLANDER, AND
RELATED PROBLEMS § 2.4.17 (2d ed. 1994), and cases cited
therein. Ms. Wilson's deposition testimony makes clear that
she has not suffered any such injury as a result of
publication of the book.

Ms. Wilson testified that she cannot identify any
person whose opinion of her has been lowered, or in whose
eyes her reputation has been diminished, as a result of
publication of the book. Dep. Tr. 243-44. Ms. Wilson
further testified that none of her family relationships or
friendships has been altered in any way as a result of what
was said about her in the book, and that not one of her
family members or friends even expressed concern over how
she was portrayed in the book. Id. 237, 306. Ms. Wilson
further testified that she has not experienced any adverse
effects in her professional work, been denied credit, missed
a job opportunity, or had financial avenues foreclosed to
her as a result of publication of the book. Id. 306.
Neither has she been forced to alter her day-to-day
activities in any respect, nor consult any medical or
psychiatric doctor about any "upset" that she might have
experienced:

Q: Did you experience any -- other than emotional
response, any physical symptoms following the
publication of the book which you attribute to the

publication of the statements about you?

A: Probably a big headache.

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Anything else?

No.

And the headache went away?

Sure. Eventually.

How long did it last?

I don’t know.

What did you take for it?

A Bufferin or aspirin.

And that brought it under control?
Uh-huh.

Did you consult a doctor about the headache?

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No.

See Dep. Tr. 306-11. By the foregoing, Ms. Wilson has thus
admitted that the book has not caused any injury to her
reputation.’

This conclusion is reinforced by the fact that
statements describing Ms. Wilson as a passive bystander to
her husband’s abuse of their children have been widely and
repeatedly published dating back over a twenty-year period.
For example, an article published by Steven Gaines in 1976
- some 15 years before the instant book was published --
states: "Audree sobbed quietly and helplessly in the

background, she says, while Murry unleashed an arsenal of

sadistic punishments on the boys." See p. 68 in Exh. C

 

7. See also supra n.3.

 

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hereto (emphasis added); Dep. Tr. 258-59. That passage was
quoted in a Beach Boys biography published in 1978 by David
Leaf -- an author much admired by both Audree and Carl
Wilson -- and republished in 1985.8 See p. 15 in Exh. D
hereto; Dep. Tr. 248-50, 263-67; Deposition Transcript of
Carl Wilson 6-7 (Exh. E hereto). Mr. Gaines' 1986 biography
of the Beach Boys states: "Murry beat his children. Audree
watched helplessly from the sidelines." See p. 4 in Exh. F
hereto; Dep. Tr. 278-80.

When shown these prior published statements during
her deposition, Ms. Wilson testified that neither she nor,
to her knowledge, any other family member, had ever
complained as to their accuracy; nor, she stated, had their
publication adversely affected her reputation. See Dep. Tr.
265-66, 301-02. Against this backdrop, the notion that the
republication of similar statements in Wouldn't It Be Nice
has caused Ms. Wilson reputational injury where none
occurred previously is outlandish. Ms. Wilson's inability
to identify any such injury is totally consistent with what

one would expect in the circumstances.

 

8. Indeed, Mr. Leaf states in a "retrospective" at the end
of the 1985 edition of his book that "Audree Wilson was a
primary source for the book." See p. 202 in Exh. D hereto.
Ms. Wilson testified that she was interviewed by Mr. Leaf,
that she reviewed transcripts of what Mr. Leaf had written
based on such interviews, and that she found Mr. Leaf to be
generally accurate. See Dep. Tr. 248, 250-52.

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CONCLUSION

For the foregoing reasons, summary judgment should
be granted in favor of HarperCollins as to Ms. Wilson's
remaining libel cause of action.

WHEREFORE, HarperCollins prays for judgment
dismissing Ms. Wilson's Claim for Relief and for the award
of its costs and expenses, and such other relief as the
Court deems just and appropriate.

Dated: January 31, 1997
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I hereby certify that a copy of the foregoing was sent via
federal express to Ernesto J. Romero and to Beth F. Dumas
this $list day of Cpeonnee 1997 at the following addresses:

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